            Case 1:22-cv-02334-TSC Document 27 Filed 01/10/23 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
DELYAN SLAVCHEV PEEVSKI, et al., )
                                    )
      Plaintiffs,                   )
                                    )
v.                                  )               Civil Action No. 22-2334 (TSC)
                                    )
JANET YELLEN, Secretary,            )
Department of the Treasury, et al., )
                                    )
      Defendants.                   )
____________________________________)


                       JOINT MOTION FOR SCHEDULING ORDER

       Plaintiff Delyan Slavchev Peevski, et al., (Plaintiffs) and Defendants Secretary Janet

Yellen, et al., (Defendants) respectfully ask the Court to issue a scheduling order in the above-

captioned case, as further discussed below.

       1.       On October 28, 2022, Defendants moved to dismiss the instant case as it pertains

to the United States Department of State, Secretary Antony J. Blinken, Assistant Secretary Todd

D. Robinson, and the United States Department of State Bureau of International Narcotics and

Law Enforcement Affairs. See Defs.’ Partial Mot. to Dismiss, ECF No. 19. After a short extension

of time, Plaintiffs opposed Defendants’ partial motion to dismiss on Monday, November 28, 2022.

See Pls.’ Opp’n, ECF No. 23. The Court subsequently granted the consented to extension of time

to file the Government’s reply memorandum. See November 20, 2022 Minute Order; December

9, 2022 Minute Order. Defendants’ reply memorandum is currently due by Wednesday, January

11, 2023.
            Case 1:22-cv-02334-TSC Document 27 Filed 01/10/23 Page 2 of 3




       2.        As Defendants previously informed the Court, two developments in this case

warranted the additional time for Defendants to file their reply memorandum. First, Plaintiffs

notified Defendants that they would like to amend the Complaint for the claims pertaining to the

Department of State that are the subject of Defendants’ partial motion to dismiss; Defendants told

Plaintiffs that the Government would not oppose Plaintiffs’ request for leave to amend the

Complaint. Second, the parties continue to explore resolutions with OFAC.

       3.        On Monday, January 9, 2023, Plaintiffs asked the Court for permission to file an

amended complaint. See Pls.’ Unopposed Mot., ECF No. 26. In the event the Court grants

Plaintiffs’ request, Defendants will no longer have a need to file their reply memorandum in

support of the pending partial motion to dismiss.

       4.        Should the court grant Plaintiffs’ motion for leave, the parties respectfully ask the

Court to issue a scheduling order with the following provisions:

             •   Defendants are excused from the Wednesday, January 11, 2023 deadline to file

                 their reply memorandum in support of the partial motion to dismiss; and

             •   Defendants will respond to the amended complaint within forty-five (45) days of

                 the Court granting Plaintiffs’ motion for leave.

       5.        In addition, the parties continue to engage in dialogue about the most efficient way

to litigate the instant case as it pertains to Secretary Yellen, the Department of the Treasury,

Director Gacki, and OFAC. The parties will update the Court as soon as possible about any

developments with respect to this part of the case.

//

//

//


                                                   2
         Case 1:22-cv-02334-TSC Document 27 Filed 01/10/23 Page 3 of 3




Dated: January 10, 2023                     Respectfully submitted,

/s/ Kenneth J. Nunnenkamp                   BRIAN M. BOYNTON
Kenneth J. Nunnenkamp                       Principal Deputy Assistant Attorney General
(Bar No. 420914)
Amanda L. Salz                              DIANE KELLEHER
(Bar No. 1671976)                           Assistant Director
Morgan, Lewis & Bockius LLP
1111 Pennsylvania Avenue, NW
Washington, DC 20004                        /s/ Stephen M. Elliott
Tel: (202) 739-6000                         STEPHEN M. ELLIOTT (PA Bar# 203986)
Fax: (202) 739-6001                         Senior Counsel
Email: kenneth.nunnenkamp@morganlewis.com   United States Department of Justice
                                            Civil Division, Federal Programs Branch
Counsel for Plaintiffs                      1100 L St. NW
                                            Washington, D.C. 20005
                                            Tel: (202) 353-0889
                                            Fax: (202) 616-8470
                                            E-mail: stephen.m.elliott@usdoj.gov

                                            Counsel for Defendants




                                        3
